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                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF PUERTO RICO


       In re:

       CARLOS JAVIER SOTO GONZALEZ                                             CASE NO. 19-04523(BKT)

                Debtor                                                         Chapter 13


                      OBJECTION TO CONTINUATION OF STAY AS TO SANTANDER

       TO THE HONORABLE COURT:

                COMES NOW BANCO SANTANDER – PUERTO RICO (“Santander”), through its

       undersigned counsel, and very respectfully alleges, states and prays:

                                               Introductory Statement

                On August 15, 2019 (Docket No. 8), Debtor filed a Motion Requesting the Imposition of the

       Automatic Stay without clear and convincing evidence to overcome the presumption of bad faith

       filing set forth by Section 362(c)(3)(B) and (C) of the Bankruptcy Code, 11 U.S.C. §362(c)(3)(B)

       and (C).

                A.       Statutory Framework

                1.       In 2005, section 362(c)(3) was enacted under the Bankruptcy Abuse Prevention and

       Consumer Protection Act (BAPCPA). Section 362(c)(3)(B) and (C) of the Bankruptcy Code, 11

       U.S.C. §362(c)(3)(B) and (C), state:

                (c)      Except as provided in subsections (d), (e), (f) and (h) of this section—

                […]

                (3) If a single or joint case is filed by or against a debtor who is an individual in a chapter 7,

       11, or 13, and if a single or joint case of the debtor was pending within the preceding 1-year period
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       but was dismissed, other than a case refiled under a chapter other than Chapter 7 after dismissal

       under section 707(b)—

                (A) the stay under subsection (a) with respect to any action taken with respect to a debt or

       property securing such debt or with respect to any lease shall terminate with respect to the debtor on

       the 30th day after the filing of the later case.

                “(B) on the motion of a party in interest for continuation of the automatic stay and upon
                notice and a hearing, the court may extend the stay in particular cases as to any or all
                creditors (subject to such conditions or limitations as the court may then impose) after
                notice and a hearing completed before the expiration of the 30-day period only if the
                party in interest demonstrates that the filing of the later case is in good faith as to the
                creditors to be stayed; and

                (C) for purposes of subparagraph (B), a case is presumptively filed not in good faith
                (but such presumption may be rebutted by clear and convincing evidence to the contrary)-

                (i)      as to all creditors, if---

                         (I)       more than 1 previous case under any of chapters 7, 11, and 13 in which
                                   the individual was debtor was pending within the preceding 1-year period;

                         (II)      a previous case under any of chapters 7, 11, and 13 in which the
                                   individual was debtor was dismissed within such 1-year period, after the
                                   debtor failed to-

                                   (aa) file or amend the petition or other documents as required by this title
                                   or the court without substantial excuse (but mere inadvertence or negligence
                                   shall not be a substantial excuse unless the dismissal was caused by the
                                   negligence of the debtor’s attorney);

                                   (bb) provide adequate protection as ordered by the court; or

                                   (cc) perform the terms of a plan confirmed by the court or

                         (III)     there has not been a substantial change in the financial or personal affairs
                                   of the debtor since the dismissal of the next most previous case under
                                   chapter 7, 11, or 13 or any other reason to conclude that the later case
                                   will be concluded—
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                                   (aa) if a case under chapter 7, with a discharge; or

                                   (bb) if a case under chapter 11 or 13, with a confirmed plan that will be
                                   fully performed; and

                (ii)     as to any creditor that commenced an action under subsection (d) in a previous case
                         in which the individual was a debtor if, as of the date of dismissal of such case, such
                         action was still pending or had been resolved by terminating, conditioning, or
                         lifting the stay as to such action of such creditor.”

                2.       “When the prior dismissal is a chapter 13 case, there are generally two primary

       areas of inquiry: 1) what are the reasons why the debtor’s previous plan failed and 2) what has

       changed in the debtor’s circumstances so that the present plan is likely to be successful.” 3 Alan

       N. Resnick & Henry J. Sommer, Collier on Bankruptcy, ¶ 362.06[3](b)(16th ed. 2019). In re

       Maried del C. García Rivera, Case No. 19-00163(EAG)(Bankr. D.P.R. May 14, 2019).

                3.       Our First Circuit has recently held in In re Smith, 910 F.3d 576, 591 (1st Cir. 2018),

       that [b]ased on the provision’s text, the statutory context, and Congress’s intent in enacting

       BAPCPA, we hold that §362(c)(3)(A) terminated the entire automatic stay – as to actions against

       the debtor, the debtor’s property, and property of the bankruptcy estate – after thirty days for

       second-time filers.

                B.       Procedural History

                4.       This is Debtor’s fourth bankruptcy case, all filed by attorney Michelle Rivera Colón.

       See, Docket No. 8, ¶1.

                5.       On August 15, 2019 (Docket No. 8), Debtor filed a Motion Requesting the

       Imposition of the Automatic Stay. Debtor avers in paragraph 3:
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                “(3)     Debtor is in a more stable position to comply with the terms of the plan and the

       domestic support obligation arrears have decrease.”

                6.       Debtor has failed to file a Chapter 13 plan, evidence of a change in his financial

       position since the dismissal of the last case, or evidence of the decrease in his domestic support

       obligations.

                         C.        Presumption of filing not in good faith

                7.       Debtor’s most previous bankruptcy case was dismissed on May 23, 2019, upon

       Debtor’s failure to file evidence of being current in his DSO claim. See, Case No. 18-01351(BKT),

       Docket Nos. 87, 90.

                8.       In Debtor’s most previous bankruptcy case, Santander’s motion for relief from stay

       under 11 U.S.C. §362(d) had been granted. See, Case No. 18-01351(BKT), Docket No. 83.

                9.       Accordingly, the automatic stay does not apply as to Santander, pursuant to 11

       U.S.C. §362(c)(3)(C)(ii).

               WHEREFORE, it is respectfully requested that this Honorable Court enter an order

       denying Debtor’s Motion Requesting the Imposition of the Automatic Stay against Debtor and the

       estate property, pursuant to 11 U.S.C. 362(c)(3).

                                                       NOTICE

       WITHIN FOURTEEN (14) DAYS FROM SERVICE OF THIS MOTION, ANY PARTY
       OBJECTING TO THE RELIEF SOUGHT HEREIN, SHALL SERVE AND FILE AN
       OBJECTION OR OTHER APPROPRIATE RESPONSE TO THIS MOTION WITH THE
       CLERK’S OFFICE OF THE UNITED STATES BANKRUPTCY COURT FOR THE
       DISTRICT OF PUERTO RICO. IF NO OBJECTION OR OTHER RESPONSE IS FILED
       WITHIN THE TIME ALLOWED HEREIN, THE MOTION WILL BE DEEMED
       UNOPPOSED AND MAY BE GRANTED UNLESS: (1) THE REQUESTED RELIEF IS
       FORBIDDEN BY LAW; (2) THE REQUEST RELIEF IS AGAINST PUBLIC POLICY; OR
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       (3) IN THE OPINION OF THE COURT, THE INTEREST OF JUSTICE REQUIRES
       OTHERWISE.

                WE HEREBY CERTIFY that a true and correct copy of the foregoing has been filed

       electronically on this day with the Clerk of the Court using the CM/ECF System, which will send

       notification of such filing to Michelle Rivera Colón, Esq., bufeteriveracolon@hotmail.com;

       Alejandro Oliveras Rivera, Chapter 13 Trustee, aorecf@ch13sju.com, Monsita Lecaroz

       Arribas, Esq. Assistant U.S. Trustee, Monsita.Lecaroz@usdoj.gov, and to other parties which

       have made an electronic appearance in this case.

                San Juan, Puerto Rico, this 21th day of August, 2019.



                                             s/SERGIO A. RAMIREZ DE ARELLANO
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